     Case 3:08-cr-00006-LRH-WGC               Document 380        Filed 08/03/12    Page 1 of 1




                                 UNITED STATES DISTRICT COURT

                                      DISTRICT OF NEVADA

                                                 ***
                                                  )
UNITED STATES OF AMERICA,                         )          3:08-cr-00006-LRH-WGC
                                                  )
                        Plaintiff,                )
v.                                                )          MINUTE ORDER
                                                  )
JENNIFER LYNN FRENCH,                             )
                                                  )          August 3, 2012
                        Defendant.                )
                                                  )

PRESENT: THE HONORABLE LARRY R. HICKS, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK:           NONE APPEARING                 REPORTER: NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                      NONE APPEARING
COUNSEL FOR DEFENDANT(S):                      NONE APPEARING
MINUTE ORDER IN CHAMBERS:

        Before the court is Defendant Jennifer Lynn French’s Unopposed Motion to Unseal Portions
of Trial Transcripts and Hearing Transcript for Limited Purpose of Perfecting Appeal (#379)1 . The
court having reviewed the motion, and GOOD CAUSE APPEARING,

          Defendant’s Unopposed Motion to Unseal Portions of Trial Transcripts and Hearing
Transcript for Limited Purpose of Perfecting Appeal (#379) is GRANTED. The Clerk of the Court
shall unseal the indicated portions of trial transcripts and the February 13, 2009 hearing transcript
for the limited purpose of perfecting Defendant’s appeal.

       IT IS SO ORDERED.
                                                       LANCE S. WILSON, CLERK

                                                       By:             /s/
                                                                    Deputy Clerk



       1
           Refers to court’s docket number.
